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                                               Law Offices of                     USDC SDNY

MEMO ENDORSED JJAMES E. BAHAMONDE, P.C.         2501 Jody Court
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                                                                                  DATE FILED: 5/31/17
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                                                                                   May 30, 2017

     Hon. Valerie E. Caproni
     United States District Judge
     Southern District of New York
     40 Foley Square, Room 240
     New York, NY 10007

                                    RE:     Zayas v. Little West 12th Street Realty, L.P., et al.
                                            SDNY 17cv3111 (VEC)(DCF)

     Dear Judge Caproni:

              This Office represents the plaintiff in the above referenced action. We submit this letter
     motion on behalf of Plaintiff and Serafina Meatpacking LLC to request an adjournment of the
     initial conference scheduled for June 2, 2017. This is parties first request for an adjournment of
     this conference.

             Parties submit this joint request for an adjournment because Defendant Serafina
     Meatpacking LLC’s attorney, Sarah Hook, and I are unavailable on June 2, 2017. Therefore,
     Defendant's counsel and I respectfully request that the initial conference be adjourned to one of
     the following dates: June 14, June 19, or June 29.


            Thank you very much for your consideration of this request.

                                                    Respectfully,

                                                    /s/ James E. Bahamonde

                                                    James E. Bahamonde, Esq.

                                                  The initial pretrial conference is adjourned to June 9, 2017, at 10:00
     cc: (via ECF)                                a.m., in Courtroom 443 of the Thurgood Marshall Courthouse. The
     Sarah Hook, Esq.
     Jackson Lewis PC                             parties' joint letter and proposed case management plan are due no
     Attorneys for Serafina Meatpacking LLC       later than June 2, 2017. The Court only holds initial pretrial
                                                  conferences on Fridays at 10:00 a.m.

                                                                  SO ORDERED.


                                                                                                5/31/17
                                                                                                5/31

                                                                  HON. VALERIE CAPRONI
                                                                  UNITED STATES DISTRICT JUDGE
